Case 1:19-cv-00831-CMH-IDD Document 5 Filed 12/16/19 Page 1 of 4 PageID# 58



                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF VIRGINIA

                                        Alexandria Division

Mario Lavon Waiters,                             )
      Plaintiff,                                 )
                                                 )
V.                                               )                    l;19cv831(CMH/IDD)
                                                 )
Staci L. Richards,et                             )
       Defendants.                               )

                                              ORDER


       The Court has screened Mario Lavon Waiter's pro se complaint pursuant to 42 U.S.C.

§ 1983 [Dkt. No. 1] and application for permission to proceed in forma nauneris [Dkt. No. 2].

For the reasons set forth below,the Court will grant Waiters permission to proceed in forma

nauperis and dismiss his complaint for failure to state any claim upon which relief may be

granted.^28 U.S.C. § 1915A.

       This civil action arises out ofthe following events:

                As part of a state criminal investigation into credit card fraud and identity
       theft, officers of the Fairfax County Police Department obtained 14 separate arrest
       warrants for Waiters, issued by three different magistrates. Each ofthe warrants
       included the information required under Virginia law: the crime for which
       Waiters was being charged, date of offense, description of conduct, and that the
       issuing magistrate "found probable cause to believe that the Accused committed
       the offense charged, based on the sworn statements of named investigating
       officers.    Va. Code Ann. §§ 19.2-71,19.2-72(West 2016).

              Waiters was arrested pursuant to the warrants. At the time of his arrest,
       Waiters was carrying a backpack; a search of the backpack incident to his arrest
       revealed a loaded Taurus revolver and a set of brass knuckles. Waiters was
       subsequently indicted [in federal court] for possession of a firearm by a convicted
       felon.


              Waiters moved to suppress the gun on the grounds that the arrest warrants
       were not supported by probable cause. Therefore, he argued, the gun was the fhiit
       of an unlawful seizure. The district court denied the motion, finding the good faith
Case 1:19-cv-00831-CMH-IDD Document 5 Filed 12/16/19 Page 2 of 4 PageID# 59
Case 1:19-cv-00831-CMH-IDD Document 5 Filed 12/16/19 Page 3 of 4 PageID# 60
Case 1:19-cv-00831-CMH-IDD Document 5 Filed 12/16/19 Page 4 of 4 PageID# 61
